






Opinion issued October 3, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00916-CV

____________


LEWIS EDWARD COOK, Appellant


V.


CHERYL LYNN COOK, Appellee






On Appeal from the 245th District Court

Harris County, Texas

Trial Court Cause No. 2001-52903






O P I N I O N

	The Appellant has filed a motion to dismiss this appeal.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed with prejudice.  Tex.
R. App. P. 42.1(a).

	All other pending motions in this appeal are denied as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Keyes and Duggan (1)

Do not publish. Tex. R. App. P. 47.
1.    	The Honorable Lee Duggan, Jr., former Justice, Court of Appeals, First
District of Texas at Houston, participating by assignment.


